                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  JENNER & BLOCK LLP,

           Plaintiff,
             v.                                              Civil Action No. 25-916 (JDB)
  U.S. DEPARTMENT OF JUSTICE, et al.,

           Defendants.



                                              ORDER

          Upon consideration of the parties’ joint status report [ECF No. 13], and the entire record

herein, it is hereby

          ORDERED that, with the consent of both parties, the Temporary Restraining Order issued

on March 28, 2025 [ECF No. 9], shall be EXTENDED until final judgment in this matter; it is

further

          ORDERED that the following schedule shall govern further proceedings:

    (1) dispositive motions and opening briefs shall be filed by not later than April 8, 2025;

    (2) amicus briefs in support of either side shall be filed by not later than April 11, 2025;

    (3) opposition briefs shall be filed by not later than April 17, 2025;

    (4) any motions hearing shall be scheduled as necessary; and it is further

          ORDERED that discovery shall be STAYED pending further order of the Court, given

the parties’ agreement that no discovery is required or will be requested in connection with the

anticipated dispositive motions.

          SO ORDERED.




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                                      /s/

                               JOHN D. BATES
                           United States District Judge

Dated: April 1, 2025




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